 Case 2:15-cv-00350-JES-MRM Document 7 Filed 04/17/19 Page 1 of 2 PageID 55



                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                FORT MYERS DIVISION

In re: Filing of Documents that Exceed                         Case No. 2:15-cv-350-FtM-29MRM
       Twenty-Five Pages
                                                /

                                     STANDING ORDER
       In order to facilitate the Court’s review of certain documents, the judges of the Fort Myers

Division agree that parties should submit to Chambers a courtesy copy of any document filed

electronically in the Fort Myers Division that exceeds twenty-five (25) pages (including exhibits)

in length. Courtesy copies need not be provided simultaneously with the electronic filing of the

document. However, they should be submitted as promptly as possible and may be provided via

United States Mail or other reliable service.

       Accordingly, it is hereby ORDERED:

       1.      A party who electronically files a document exceeding twenty-five (25) pages

               (including exhibits) in length must provide a courtesy copy of the document

               (including exhibits) in paper format to the assigned judge’s chambers.

       2.      In order to implement this requirement, the Clerk of the Court is directed to file this

               Standing Order in every new civil case filed in the Fort Myers Division until further

               Order.

       3.      This Standing Order is not applicable to criminal cases.

       DONE AND ORDERED at Fort Myers, Florida, this 17th day of April, 2019.
Case 2:15-cv-00350-JES-MRM Document 7 Filed 04/17/19 Page 2 of 2 PageID 56



  SHERI POLSTER CHAPPELL                         JOHN E. STEELE
      Sheri Polster Chappell                       John E. Steele
 United States District Court Judge   Senior United States District Court Judge

         MAC R. MCCOY
          Mac R. McCoy
   United States Magistrate Judge

     DOUGLAS N. FRAZIER
        Douglas N. Frazier
   United States Magistrate Judge




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